                  IN THE UNITED STATES DISTRICT COURT
                  FOR THE NORTHERN DISTRICT OF IOWA
                            EASTERN DIVISION

 UNITED STATES OF AMERICA,
              Plaintiff,                                No. 07-CR-1023-LRR
 vs.
                                                               ORDER
 ORLANDO BIRBRAGHER, et al.,
              Defendants.
                                ____________________

                                 I. INTRODUCTION
       The matter before the court is Defendant Orlando Birbragher’s “Motion to
Reconsider Order Denying Reconsideration of the Detention Order and Request to Make
Offer of Proof” (“Second Motion”) (docket no. 81).
                      II. RELEVANT PRIOR PROCEEDINGS
       On November 7, 2007, a federal grand jury returned a thirty-one-count Indictment
                                     1
against Defendant and five others.        Defendant was charged in two counts. Count 1
charges Defendant with Conspiracy to Distribute Narcotics, in violation of 21 U.S.C.
§ 846. Count 2 charges Defendant with Conspiracy to Commit Money Laundering, in
violation of 18 U.S.C. § 1956(h).
       On November 16, 2007, Defendant surrendered in this jurisdiction and was
arraigned. He pled not guilty to Counts 1 and 2. The United States orally moved for pre-
trial detention of Defendant and requested his detention hearing (“Detention Hearing”) be
delayed for three days. At Defendant’s request, the court then scheduled the Detention
Hearing for November 20, 2007.
       On November 20, 2007, the court held the Detention Hearing. Attorney Richard


       1
         The other defendants were Marshall Neil Kanner, Jack Eugene Huzl, Douglas
Willis Bouchey, Armando Angulo and Peter Colon Lopez.


   Case 2:07-cr-01023-LRR-JSS            Document 170   Filed 04/28/08   Page 1 of 10
J. Diaz represented Defendant at the Detention Hearing.         At the conclusion of the
Detention Hearing, the court ordered Defendant to be detained pending a written order of
the court.
       On December 7, 2007, the court issued an Order (“Detention Order”) (docket no.
48), in which it ordered Defendant detained without bond pending his trial. The court
found Defendant “is a risk of flight and no condition or combination of conditions would
                                                                                          2
reasonably assure his appearance for trial.” Detention Order at 48 (citation omitted).
Defendant’s trial is presently scheduled for September and October of 2008.
       On December 14, 2007, Defendant filed a Notice of Appeal (docket no. 52).
Defendant sought interlocutory review of the Detention Order from the Eighth Circuit
Court of Appeals. On January 25, 2008, the Eighth Circuit Court of Appeals affirmed the
Detention Order.
       On or about February 14, 2008, Defendant fired Attorney Diaz and hired Attorneys
Alfredo Parrish and Andrew Dunn to represent him in this matter.
       On February 25, 2008, Defendant filed a “Motion for Evidentiary Hearing and
Reconsideration of the December 7, 2007 Detention Order” (“First Motion to
Reconsider”) (docket no. 76). On March 6, 2008, the government resisted the First
Motion to Reconsider. On March 11, 2008, Defendant filed a reply to the government’s
resistance.
       On March 12, 2008, the court denied the First Motion to Reconsider. The court
held that the First Motion to Reconsider was procedurally defective. Defendant did not
“allege that ‘information exists that was not known to [him] at the time of the [Detention
Hearing] and that has a material bearing on the issue whether there are conditions of
release that will reasonably assure [his] appearance . . . as required and the safety of any


       2
        The court expressly did not decide whether Defendant was a safety risk. See
Detention Order at 12.

                                             2


   Case 2:07-cr-01023-LRR-JSS         Document 170      Filed 04/28/08     Page 2 of 10
other person and the community.’” Order (“Order Denying Reconsideration”) (docket no.
80), at 1 (quoting 18 U.S.C. § 3142(f)(2)).
       On March 18, 2008, Defendant filed the instant Second Motion (docket no. 81).
In the Second Motion, Defendant asks the court to reconsider the Order Denying
Reconsideration. Defendant makes three new allegations in the Second Motion: (1)
Defendant has a deteriorating financial situation; (2) Defendant has a new gall bladder
infection; and (3) Defendant received ineffective assistance of counsel from Attorney Diaz
at the Detention Hearing and during his appeal of the Detention Order. Defendant asked
the court to let him make an offer of proof.
       On March 21, 2008, Defendant filed a second Notice of Appeal (docket no. 87).
Defendant sought interlocutory review of the Order Denying Reconsideration from the
Eighth Circuit Court of Appeals. Defendant’s second appeal is pending.
       On March 27, 2008, the government filed a Resistance (docket no. 94) to the
Second Motion.
       On April 7, 2008, the court granted Defendant’s request in the Second Motion to
make an offer of proof. Specifically, the court ordered:
              On or before Friday, April 11, 2008, at noon, Defendant
              shall file with the court an offer of proof with respect to his
              new allegations of (1) a deteriorating financial situation; (2) a
              new gall bladder infection; and (3) ineffective assistance of
              counsel. Any exhibits that Defendant would propose to offer
              at a potential hearing on the Second Motion to Reconsider
              should be filed as attachments to the offer of proof.

Order (docket no. 112), at 1 (emphasis in original, footnote omitted). The court noted that
“Defendant did not make these specific allegations at [the Detention Hearing] or in his
[First Motion to Reconsider].” Id. at 1 n.1.
       On April 10, 2008, Defendant filed his Offer of Proof (docket no. 128). On April
11, 2008, Defendant filed a “Proposal for Release of Defendant Birbragher Pending Trial”


                                               3


   Case 2:07-cr-01023-LRR-JSS         Document 170       Filed 04/28/08     Page 3 of 10
(“Proposal”) (docket no. 129). On April 15, 2008, Defendant filed a “Supplement to
Defendant Birbragher’s Offer of Proof Requested in Judge Reade’s Order of April 7, 2008
Regarding Reconsideration of Detention” (“First Supplemental Offer of Proof”) (docket
no. 131). On April 22, 2008, Defendant filed a “Supplement to Offer of Proof Requested
by Judge Reade’s Order of April 7, 2008” (“Second Supplemental Offer of Proof”)
(docket no. 152).
       On April 23, 2008, the government filed Responses (docket nos. 156 and 157) to
the Offer of Proof and the Proposal. On April 24, 2008, the government filed a Response
(“Third Response”) (docket no. 165) to the First Supplemental Offer of Proof. The
government has not yet filed a response to the Second Supplemental Offer of Proof,
although the time for doing so has not yet passed.
       On April 28, 2008, Defendant filed a Reply (docket no. 168) to the government’s
Response (docket no. 156).
                 III. FAILURE TO COMPLY WITH COURT ORDER
       As the government points out in its Third Response, Defendant’s First Supplemental
Offer of Proof and Second Supplemental Offer of Proof are untimely. Defendant filed the
First Supplemental Offer of Proof four days late and the Second Supplemental Offer of
Proof eleven days late. Accordingly, the court shall strike these pleadings. The court does
not consider them in the instant Order.
                                      IV. ANALYSIS
       Title 18, United States Code, Section 3142(f) provides the governing legal standard
for resolution of the Second Motion to Reconsider. In relevant part, § 3142(f) provides:
              The [Detention Hearing] may be reopened . . . at any time
              before trial if the judicial officer finds that information exists
              that was not known to [Defendant] at the time of the
              [Detention Hearing] and that has a material bearing on the
              issue whether there are conditions of release that will
              reasonably assure the appearance of such person as required


                                              4


   Case 2:07-cr-01023-LRR-JSS         Document 170        Filed 04/28/08     Page 4 of 10
              and the safety of any other person and the community.

18 U.S.C. § 3142(f). In the Second Motion, Defendant claims that three categories of
information exist that were not known to him at the time of the Detention Hearing:
(1) Defendant has a deteriorating financial situation; (2) Defendant has a new gall bladder
infection; and (3) Defendant received ineffective assistance of counsel from Attorney Diaz
at the Detention Hearing and during his appeal of the Detention Order. In what follows,
the court considers each of these three categories in conjunction with the evidence in
Defendant’s Offer of Proof.
                          A. Deteriorating Financial Condition
       Defendant alleges that his financial situation has deteriorated since the Detention
Hearing. Defendant claims that his financial situation is now so dire that it undermines the
court’s finding in the Detention Order that Defendant is a flight risk.
       Notwithstanding Defendant’s pleas of poverty in the Second Motion to Reconsider
and the Offer of Proof, he is still a very rich man. Critically, he has more than sufficient
financial means to flee and sustain himself were the court to release him. On April 21,
2008, the court held a hearing (“Surgery Hearing”) on Defendant’s “Sealed Motion for
Release for Surgery Pursuant to 18 U.S.C. § 3142(i)” (“Second Motion for Temporary
Release”).   At the Surgery Hearing, Defendant testified as to his present financial
situation. Even affording Defendant the benefit of the doubt as to many of his pleas of
poverty, he still owns a $4.2 million home with approximately $600,000 in equity.
                                                                   3
Further, Defendant owns a 76% or 77% interest in “Paso Fino” horse that is valued at


       3
         A Paso Fino is no ordinary horse. Translated from Spanish as “Fine Gait,” a
Paso Fino “is a naturally-gaited light horse breed with a history dating back many centuries
to Spain.” Paso Fino, available at http:// en.wikipedia.org/wiki/Paso_Fino (last visited
April 28, 2008); see also United States v. Bazaldua, 506 F.3d 671, 673 n. 2 (8th Cir.
2007) (taking judicial notice of article in Wikipedia, the online encyclopedia). “They are
                                                                               (continued...)

                                             5


   Case 2:07-cr-01023-LRR-JSS         Document 170       Filed 04/28/08    Page 5 of 10
approximately $180,000. Defendant also owns a business in Panama.
       Accordingly, the court declines to reopen the Detention Hearing on the grounds of
Defendant’s allegedly deteriorating financial condition.
                              B. New Gall Bladder Infection
       The evidence the court heard at the Surgery Hearing also undermines any claim that
Defendant is entitled to release because of a new gall bladder infection. At the Surgery
Hearing, there was no evidence that Defendant presently suffers from a gall bladder
infection. Any infection has healed. Although Defendant still has a gall bladder disease,
see Order on Second Motion for Temporary Release (docket no. 166), passim, his
condition is not life-threatening.    With proper medication and dietary restrictions,
Defendant can control the discomfort that his gall bladder disease would otherwise cause
him. Critically, Defendant’s gall bladder disease in no way restricts his ability to flee.
Defendant testified at the Surgery Hearing that he could readily travel with his gall bladder
disease.
           Accordingly, the court declines to reopen the Detention Hearing on the grounds
of Defendant’s alleged gall bladder infection.
                           C. Ineffective Assistance of Counsel
       Finally, Defendant argues that he received ineffective assistance of counsel at the
Detention Hearing. Although Defendant makes rather wide-ranging claims of ineffective
                                                                    4
assistance of counsel in the Second Motion to Reconsider itself, Defendant’s Offer of


       3
        (...continued)
prized for their smooth natural gait, and are used in many disciplines, especially trail and
endurance riding.” Paso Fino, available at http:// en.wikipedia.org/wiki/Paso_Fino (last
visited April 28, 2008).
       4
         For example, in the Second Motion to Reconsider, Defendant alleges that
Attorney Diaz provided ineffective assistance of counsel when he failed to properly object
                                                                            (continued...)

                                             6


   Case 2:07-cr-01023-LRR-JSS         Document 170       Filed 04/28/08    Page 6 of 10
Proof is limited to allegations regarding a breakdown in communication between Defendant
and Attorney Diaz around the time of the Detention Hearing and Attorney Diaz’s alleged
failure to adequately prepare for the Detention Hearing. Defendant’s entire offer of proof
with respect to his ineffective assistance of counsel claim follows:
              3.     The issue of Ineffective Assistance of Counsel goes
                     specifically to the representation that Counsel made
                     regarding the Detention Hearing and the contact by Mr.
                     Birbragher with his former Counsel prior to the
                     Arraignment and Detention Hearing. The evidence will
                     show as follows:
                     a.     Mr. Ross who represents Mr. Kanner had
                            previously counseled Mr. Birbragher and
                            Pharmacom. This is well documented in the
                            discovery files. Mr. Kanner was released
                            pending trial;
                     b.     Mr. Birbragher sought counsel from Mr. Diaz
                            only after Mr. Ross met with Phoenix Law
                            Group and Mr. Reinert of the United States
                            Attorney’s office;
                     c.     Mr. Diaz was constantly contacted by Mr.
                            Birbragher who paid a retainer to Mr. Diaz of
                            $100,000.00 to assist him with the potential
                            criminal charge in addition to assisting him with
                            the detention hearing. Mr. Birbragher asked his
                            counsel whether he should bring witnesses to the
                            detention hearing an prepare in advance for any
                            issues that may concern the court on his release
                            pending trial. As a matter of fact, while the

       4
         (...continued)
to certain past-immunized testimony. To the extent Defendant fails to mention allegations
of ineffective assistance of counsel or fails to offer proof in support of such allegations in
his Offer of Proof, the court declines to consider his ineffective-assistance-of-counsel
claim. See, e.g., United States v. Workman, 138 F.3d 1261, 1263 (8th Cir. 1998) (holding
that a failure to discuss an argument with specificity or attempt to justify it with legal or
factual support is ordinarily a bar to consideration). In any event, Defendant refuses to
turn over any evidence in support of his ineffective-assistance-of-counsel claim.

                                              7


   Case 2:07-cr-01023-LRR-JSS          Document 170       Filed 04/28/08    Page 7 of 10
                    matter was pending in the investigative stages,
                    Mr. Birbragher did not move any of his funds in
                    either his personal accounts or his Pharmacom
                    account. That was not the situation with other
                    parties subject to this investigation. He is
                    supporting his position on this by disclosing all
                    of his financial records to the government;
              d.    Mr. Birbragher has documents to support the
                    position that he called his previous counsel on
                    numerous occasions asking him to contact the
                    United States Attorney’s office in the Northern
                    District of Iowa. He sent him e-mails. These e-
                    mails are in the possession of his current counsel
                    but there may be a question of revealing client
                    confidences that needs to be resolved prior to
                    disclosure of these documents. Counsel does not
                    want to compromise attorney/client privilege on
                    the “total” case in order to present information
                    to this Court on the issue of inadequate
                    preparation for a Detention Hearing. Mr.
                    Birbragher has asked that I disclose e-mails he
                    sent to Mr. Diaz requesting meetings with Ms.
                    Rose as long as it does not waive his client
                    conversations with Mr. Diaz on substantive
                    issues involving his defense of the pending
                    charges. Mr. Birbragher and his wife were
                    constantly calling about the progress of the case
                    and where the investigation stood in addition to
                    requesting a meeting with Ms. Rose. On many
                    occasions, his former counsel’s office advised
                    the Birbraghers that Mr. Diaz was in Panama or
                    Colombia and would get back to them.
              e.    Mr. Birbragher came to Iowa to meet on a
                    previous occasion with the government attorney
                    while the case was pending.
              f.    Mr. Birbragher was never advised that the
                    government was going to seek detention yet the
                    government’s counsel will advise the court that
                    they told Mr. Birbragher’s previous counsel that


                                     8


Case 2:07-cr-01023-LRR-JSS    Document 170      Filed 04/28/08     Page 8 of 10
                            not only were they going to seek detention but if
                            they sought it, they would more than likely
                            obtain it. After the Detention Hearing, his
                            counsel went back to Florida and came back to
                            Iowa while Mr. Birbragher remained in jail.

Offer of Proof at ¶ 3.
       The government responds that Defendant must waive his attorney-client privilege
to assert his claims of ineffective assistance of counsel. The government states that it is
unable to respond to Defendant’s claims of ineffective assistance of counsel absent such
a waiver and release of the requisite documentary evidence.
       The court assumes without deciding that an allegation of ineffective assistance of
counsel qualifies as grounds for reopening a detention hearing pursuant to § 3142(f). Even
if such an allegation qualifies, Defendant is not entitled to relief at present. Defendant is
impermissibly attempting to use the attorney-client privilege as both a shield and a sword.
United States v. Workman, 138 F.3d 1261, 1264 (8th Cir. 1998). Defendant may not
simultaneously allege a breakdown in communication or otherwise impugn Attorney Diaz
without permitting the government to explore the substance of the attorney-client
relationship. Id. Absent evidence, the court cannot rule.
       Accordingly, the court declines to reopen the Detention Hearing on the grounds of
ineffective assistance of counsel.
                                     V. CONCLUSION
       The Second Motion (docket no. 81) is DENIED. Defendant’s First Supplemental
Offer of Proof (docket no. 131) and Second Supplemental Offer of Proof (docket no. 152)
are STRICKEN. The Clerk of Court is directed to file the instant Order as a public
document. Because Defendant’s gall bladder disease and financial issues were explored
fully at the Surgery Hearing, see Order on Second Motion for Temporary Release (docket
no. 166), at 1-2, the court shall unseal the Offer of Proof (docket no. 128), the First


                                             9


   Case 2:07-cr-01023-LRR-JSS         Document 170       Filed 04/28/08    Page 9 of 10
Supplemental Offer of Proof (docket no. 131), the Second Supplemental Offer of Proof
(docket no. 152) and the Reply (docket no. 168), as well as the government’s Response
(docket no. 156) and Third Response (docket no. 165). Pursuant to Local Rule 10.h, the
attachments to the Offer of Proof (docket no. 128) shall remain sealed.
      IT IS SO ORDERED.
      DATED this 28th day of April, 2008.




                                          10


  Case 2:07-cr-01023-LRR-JSS        Document 170     Filed 04/28/08       Page 10 of 10
